Exhibit A
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                                          UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF TEXAS

              FLOWERS TITLE COMPANIES LLC,                        §
                                        Plaintiff,                §
                                                                  §
              v.                                                  § Civil Action No.
              SCOTT BESSENT, in his official capacity             §
              as U.S. Secretary of Treasury; U.S.                 §
              DEPARTMENT OF TREASURY; THE                         §
              FINANCIAL CRIMES ENFORCEMENT                        §
              NETWORK;                                            §
                                                                  §
                                        Defendants.               §
                                       DECLARATION OF CELIA C. FLOWERS

             I, Celia C. Flowers, declare that:

                      1.      I make this statement of my own personal knowledge and if called to

             testify, could and would testify truthfully thereto.

                      2.      I am over 18 years of age and a resident of Tyler, Texas. I am a co-owner

             of Flowers Title Companies, LLC. I run the company with the aid of my daughter who

             is my co-owner.

                      3.      In addition to my role at Flowers Title Companies LLC, I am a senior

             partner at Flowers Davis PLLC. I am certified by the Texas Board of Legal

             Specialization in residential estate law.

                      4.      Flowers Title Companies, LLC is a title agent incorporated in the State

             of Texas, and headquartered in Tyler, Texas. We do business under the name “East

             Texas Title Companies.”

                      5.      We are licensed to facilitate closings in 87 of Texas’ 254 counties.

                      6.      We are not a federally insured financial institution.



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                      7.      Each year, East Texas Title Companies facilitates or provides

             information for thousands of real estate closings.

                      8.      We commonly facilitate real estate transfers between Texas residents.

             That includes transactions between Texas residents using Texas financial

             institutions.

                      9.      We commonly close or settle non-financed transfers of residential

             property to legal entities like an LLC or another incorporated entity or trust.

                      10.     Non-financed transfers are commonly referred to as “cash deals”

             because the buyer has liquid assets available to close without need of obtaining

             financing.

                      11.     In my experience, there is nothing unusual about a buyer paying for real

             property with his or her own money. Buyers who can afford to purchase property

             without taking out a loan may prefer cash deals for many legitimate reasons. Most

             obviously, they can save thousands of dollars in lending costs and interest payments

             if they pay out of their own savings, or with other liquid assets.

                      12.     High net earners, individuals with inherited wealth, and those who have

             recently sold another property commonly invest in real estate and often have assets

             sufficient to cover the cost outright.

                      13.     In my experience, the buyer in a non-financed real estate transaction is

             almost always paying for the property with money from a savings account at a bank

             or credit union that is required to maintain an anti-money-laundering program.




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                      14.     We have never encountered a situation in which a buyer seeks to pay

             with physical cash over $1,500.00—i.e., without that money being transferred from a

             financial institution that is required to maintain an anti-money-laundering program.

                      15.     I can also say that, in my experience, there is nothing unusual about an

             investor creating a limited liability corporation, or another incorporated entity, to

             acquire and hold real estate.

                      16.     Incorporation is common in the real estate business because it

             minimizes legal risks and serves legitimate tax planning purposes.

                      17.     Likewise, there are legitimate estate planning reasons for a family with

             wealth to transfer real property to a trust for the benefit of trustees.

                      18.     Since 2016, the Financial Crimes Enforcement Network (“FinCEN”) has

             required our company to gather and report information on certain non-financed

             transfers of residential property under FinCEN’s “geographic targeting orders”

             (“GTOs”). These reporting requirements impose burdens on our staff, not the least of

             which is they are required to gather potentially sensitive, private information not

             relevant to facilitating the closing of a deal under state or local law.

                      19.     FinCEN’s preexisting orders require East Texas Title to gather and

             report information on non-financed transactions in six of the counties we operate in.

             This took time, energy and resources to ensure full compliance.

                      20.     Our company is now taking steps to ensure compliance in case FinCen’s

             new rule, requiring mandatory reporting for most non-financed transfers of

             residential property (“Final Rule”), goes into effect in December, 2025.




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                      21.     This requires time, energy and money that would otherwise be directed

             to more productive business purposes. East Texas Title employees have already

             invested significant time reviewing the Final Rule and devising plans to ensure

             compliance. For example, we have spent time reviewing FinCEN’s draft Real Estate

             Report form.

                      22.     Under the Final Rule, East Texas Title will be responsible for filing Real

             Estate Reports because the company, or our employees, is commonly “listed as the

             agent on the closing or settlement statement for the transfer” of residential property.

                      23.     Even where East Texas Title is not officially listed as the agent on the

             closing or settlement statement, the company will be responsible for filing FinCen

             reports because our employees are routinely preparing the closing or settlement

             statements for the transfer of residential properties, and because our employees are

             commonly filing deeds, or other instruments transferring ownership, in the local

             county recorder’s office.

                      24.     East Texas Title has a dedicated compliance officer whose primary

             duties include ensuring general compliance with state and local law; however, the

             officer must now devote a substantial portion of her time to ensuring compliance with

             FinCEN’s reporting requirements.

                      25.     Our compliance officer has expended significant time and energy

             working to ensure compliance with FinCEN’s preexisting reporting requirements.

             Based on that experience, we have every reason to expect that the Final Rule will

             prove burdensome and time-consuming.




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                      26.     Under the Final Rule, our compliance officer will have to train and

             continuously oversee employees who are interfacing with clients to ensure that they

             are appropriately gathering information on reportable transactions.

                      27.     Our employees will have to gather information and make a

             determination with each transaction as to whether it is a reportable transaction or

             not.

                      28.     If they determine that it is a reportable transaction, they must gather

             all categories of required information under the Final Rule—even where such

             inquiries may seem cumbersome, unnecessary or invasive to our clients.

                      29.     East Texas Title must compensate its hourly employees for the time they

             spend gathering required information, preparing and filing Real Estate Reports, and

             in managing required document retention policies.

                      30.     East Texas Title brings this suit because it objects to being conscripted

             into performing government surveillance on its clients. We object to FinCEN’s

             demand that our company must hand over its records without a warrant.

                      31.     East Texas Title also brings this suit because we object to being

             compelled to collect information beyond what it is necessary to facilitate real estate

             closings in compliance with state and local law—and because we believe FinCEN

             promulgated the Final Rule in violation of the separation of powers.

                      I declare under penalty of perjury under the laws of the United States that the

             foregoing is true and correct.
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                      Executed on __________ at Tyler, Texas.




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                                                                  CELIA C. FLOWERS




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